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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No.        CV 20-2491 MWF (KSx)                                       Date: March 20, 2020
Title       Orlando Garcia v. Mancora Peruvian Cuisine Inc., et al.


Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                   Rita Sanchez                                        Not Reported
                   Deputy Clerk                                  Court Reporter / Recorder

        Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                 Not Present                                        Not Present

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE SUPPLEMENTAL
             JURISDICTION

       The Complaint filed in this action asserts a claim for injunctive relief arising
out of an alleged violation of the Americans with Disabilities Act (“ADA”), 42
U.S.C. §§ 12101-12213, a claim for damages pursuant to the Unruh Civil Rights
Act (“Unruh Act”), Cal. Civ. Code §§ 51-53, and other state law claims alleged by
Plaintiff. The sole basis for jurisdiction over the Unruh Act claim is supplemental
jurisdiction pursuant to 28 U.S.C. § 1367(a). The Court, however, may decline to
exercise supplemental jurisdiction for the reasons delineated in § 1367(c).

       This Court has a sua sponte obligation to confirm that it has subject matter
jurisdiction. Nevada v. Bank of Am. Corp., 672 F.3d 661, 673 (9th Cir. 2012) (“[I]t
is well established that ‘a court may raise the question of subject matter
jurisdiction, sua sponte, at any time during the pendency of the action . . . .’”
(quoting Snell v. Cleveland, Inc., 316 F.3d 822, 826 (9th Cir. 2002))).

       Therefore, to assist this Court in its duty, Plaintiff is ORDERED to SHOW
CAUSE in writing as to why this Court should exercise supplemental jurisdiction
over the Unruh Act claim and the other state law claims alleged by Plaintiff. The
Response to the Order to Show Cause shall include (1) the amount of statutory
damages sought pursuant to the Unruh Act; and (2) sufficient facts for the Court to
determine whether Plaintiff or Plaintiff’s counsel meet the definition of a “high-


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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

Case No.        CV 20-2491 MWF (KSx)                             Date: March 20, 2020
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frequency litigant” as defined in California Code of Civil Procedure section
425.55(b)(1) & (2). These facts shall be set forth in declarations signed under
penalty of perjury.

       The Response shall be filed on or before APRIL 3, 2020. Failure to timely
or adequately respond to this Order to Show Cause may, without further warning,
result in the dismissal of the entire action without prejudice or the Court’s
declining to exercise supplemental jurisdiction over the Unruh Act claim and the
dismissal of that claim pursuant to 28 U.S.C. § 1367(c).

        IT IS SO ORDERED.

                                                                Initials of Preparer: RS/sjm




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